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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION


UNITED STATES OF AMERICA

                                 Plaintiff,
v.                                                    CASE NUMBER:          2:23CR2 PPS

ABIGAIL DAWES

                                 Defendant.
                                   /


                      DEFENDANT’S SENTENCING MEMORANDUM

       The Defendant, Abigail Dawes, submits the following for the Court’s consideration at the

sentencing herein:

                                    I. The Sentencing Guidelines

       The United States Probation Office has recommended, based on a total offense level of

43, and Criminal History Category I, that Ms. Dawes’ guideline sentencing range of

imprisonment is life, but that term is limited to a term of 360 months by statute. Neither party has

objected to that calculation.

       However, the parties have presented the Court with a binding plea agreement that, if

accepted, would require the Court to sentence Ms. Dawes to a sentence of 300 months (25 years)

followed by 15 years of supervised release.

                                II. Proposed Conditions of Supervision

       The undersigned has reviewed the proposed conditions of supervision with Ms. Dawes.

The Defendant has no objections to the proposed conditions of supervision.
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       III. Sentencing Factors under 18 U.S.C. § 3553(a) for the Court’s Consideration

                                        A.    Family History

        Abigail Dawes is thirty (30) years old. She was born in Munster, Indiana, to Jane Dawes

and Trent Reid. She was raised by her maternal grandmother, Irene Brack, as her adoptive father,

Michael Dawes, was physically and emotionally abusive. She has had a limited relationship with

her biological father.

        Ms. Dawes grew up in a chaotic and unstable home. She is divorced and has three (3)

children, two (2) with her co-defendant Alfonso Rodriguez. While involved with Mr. Rodriguez,

Ms. Dawes was required to engage in prostitution as a condition of remaining in the relationship.

                                        B.    Offense Conduct

        Ms. Dawes has demonstrated clear and unequivocal acceptance of responsibility for her

conduct related to this offense.

                                   C.    Education and Employment

        Ms. Dawes attended Morton High School but dropped out in the 10th grade. She hopes to

obtain her GED while incarcerated.

        Ms. Dawes has a good history of lawful employment. She has been employed primarily

in retail settings.

                                   D.    Physical and Mental Health

         Ms. Dawes is in good physical health.

         Ms. Dawes has an extensive history of mental health issues or treatment, including

approximately thirty (30) inpatient hospitalizations. She suffers from Bi-polar disorder, ADHD,

ODD, PTSD, Borderline Personality Disorder, and anxiety.



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                                  E.      Substance Abuse History

        Ms. Dawes began using alcohol and marijuana at age fourteen (14). She has an extensive

history of poly-substance use and abuse, including marijuana, cocaine, PCP, and LSD. Ms.

Dawes last used any substance on August 22, 2022, when she was arrested under case number

2:22CR87.

                       F.       Current Incarceration and Plan for the Future

        Ms. Dawes has been incarcerated in the Porter County Jail since her arrest on August 22,

2022, although she was arrested for the instant offense on January 24, 2023. She has had no

issues while in pretrial detention. Ms. Dawes plans to return to Northwest, Indiana, upon her

release from incarceration.

                              IV. Defendant’s Recommended Sentence

        Under the circumstances, a sentence of 300 months followed by 15 years of supervised

release, is a reasonable and appropriate sentence under the factors enumerated in 18 U.S.C. §

3553.

        Ms. Dawes would request the following recommendations: 1) that she be incarcerated as

close to the Northern District of Indiana and in an institution that offers the residential sex

offender treatment program; 2) that she receive a mental health evaluation and treatment; 3) that

she be given credit for time already served since her arrest on August 22, 2022; 4) that she be

allowed to participate in a vocational training program; 5) that she be allowed to participate in

the prison industries program; and 6) that she be given consideration for placement in the

residential re-entry program.




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Dated:    January 22, 2024

                                                    Northern District of Indiana
                                                    Federal Community Defenders, Inc.

                                             By:    /s/ Peter L. Boyles
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on January 22, 2024, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notifications of such filing to all parties
of record.

                                                      s/ Peter L. Boyles




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